Case 4:20-cv-03709 Document 64 Filed on 11/02/20 in TXSD Page 1 of 1
                                                                      United States Courts
                                                                    Southern District of Texas
                                                                             FILED
                                                                      November 02, 2020
         United States Court of Appeals David J. Bradley,
                                                           Clerk of Court

              for the Fifth Circuit
                             ___________

                              No. 20-20574
                             ___________

 Steven F. Hotze, M.D.; Wendell Champion; Honorable
 Steve Toth; Sharon Hemphill,

                                                    Plaintiffs—Appellants,

                                  versus

 Chris Hollins, in his official capacity as Harris
 County Clerk,

                                          Defendant—Appellee.
                ______________________________

               Appeal from the United States District Court
                   for the Southern District of Texas
                        USDC No. 4:20-CV-3709
               ______________________________

 Before Stewart, Graves, and Higginson, Circuit Judges.

 Per Curiam:

       IT IS ORDERED that appellants’ motion for injunctive relief to
 issue a preliminary injunction banning drive-thru voting on Election Day,
 November 3, 2020, is DENIED.
